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Buccaneer Resources Liquidating Trust
Final Distribution                                                                                             Total Distribution Amount           $    3,598,000.00

                                                                                                                                                                                                                   Prior Reserve         Total
                                                                                                                                                        Pro Rata                      Backup W/H         Net
                                                                                                          Total Allowed Claim                                          Backup W/H %                                Amts Released     Distribution
                        Creditor                                        Transferee         Claim Status                            Pro Rata %          Distribution                     Amount      Distribution
                                                                                                                Amount                                                    (Note B)                                  for Payment      Amount to
                                                                                                                                                        (Note A)                        (Note C)      Amount
                                                                                                                                                                                                                      (Note D)        Creditors
Advance Hydrocarbon Corporation                                                           Allowed                     436.50              0.001%               35.87                          -            35.87               -              35.87
AFLAC                                                                                     Allowed                   1,644.02              0.004%              135.11                          -           135.11               -             135.11
AIMM Technologies, Inc.                                                                   Allowed                 299,415.15              0.684%           24,606.48                          -        24,606.48               -         24,606.48
Air Liquide America LP                                                                    Allowed                   5,930.11              0.014%              487.35                          -           487.35               -             487.35
Airgas USA LLC                                                                            Allowed                     595.53              0.001%               48.94                          -            48.94               -              48.94
Airport Equipment Rental, Inc.                                                            Allowed                  48,972.47              0.112%            4,024.65                          -         4,024.65               -           4,024.65
Alan Stein                                                                                Resolved                       -                0.000%                 -                            -              -                 -                -
Alaska Communications                                                                     Allowed                   2,733.37              0.006%              224.63                          -           224.63               -             224.63
Alaska Industrial Hardware, Inc                                                           Allowed                     153.30              0.000%               12.60                          -            12.60               -                -     (Note E)
Alaska Rubber and Supply, Inc.                                                            Allowed                   5,846.00              0.013%              480.43                          -           480.43               -             480.43
Alaska Waste                                                                              Allowed                     724.01              0.002%               59.50                          -            59.50               -              59.50
Alaska's Best Water                                                                       Allowed                     103.18              0.000%                8.48            28%           -             8.48               -                -     (Note E)
All American Oilfield Associates, LLC                      Teras Oilfield Support, Ltd.   Allowed               2,800,102.63              6.396%          230,117.50                          -       230,117.50               -        230,117.50
Alyeska Sales & Service                                                                   Allowed                   4,186.60              0.010%              344.06                          -           344.06               -             344.06
Applied Standards Inspection, Inc.                                                        Allowed                  29,937.48              0.068%            2,460.32                          -         2,460.32               -           2,460.32
Archer Drilling LLC                                                                       Allowed               7,500,000.00             17.131%          616,363.56                          -       616,363.56               -        616,363.56
Archer Survey & Inspection LLC                                                            Allowed                 500,000.00              1.142%           41,090.90                          -        41,090.90               -         41,090.90
Arctic Wire Rope and Supply                                                               Allowed                   2,082.10              0.005%              171.11                          -           171.11               -             171.11
ASRC Energy Services                                                                      Allowed                  17,716.34              0.040%            1,455.96                          -         1,455.96               -           1,455.96
ASX Settlement Pty Limited                                                                Allowed                      56.52              0.000%                4.64                          -             4.64               -                -     (Note E)
AT&T Mobility                                                                             Allowed                     501.00              0.001%               41.17                          -            41.17               -              41.17
AT&T Mobility - ROC                                                                       Allowed                      64.49              0.000%                5.30                          -             5.30               -                -     (Note E)
Atigun Incorporated                                                                       Allowed                  10,800.00              0.025%              887.56                          -           887.56               -             887.56
Bang Energy LLC                                                                           Allowed                   2,498.63              0.006%              205.34                          -           205.34               -             205.34
Benefits Science, LLC                                                                     Allowed                     300.00              0.001%               24.65            28%           -            24.65               -                -     (Note E)
Bernstein, Scott P.                                                                       Allowed                 298,900.00              0.683%           24,564.14                          -        24,564.14               -         24,564.14
Best Western Bidarka Inn                                                                  Allowed                  11,811.89              0.027%              970.72            28%        271.80         698.92               -             698.92
Big G Electric & Engineering, Inc.                                                        Allowed                      94.76              0.000%                7.79                          -             7.79             24.88            32.67
                                                                                          Barred -
Bligh Energy Services Pty Ltd                                                                                            -                0.000%                                              -               -               -                -
                                                                                          Unclaimed                                                              -
B-Pack, Inc.                                                                              Allowed                   2,370.00              0.005%              194.77                          -           194.77              -            194.77
Brice Equipment, LLC - 003                                                                Allowed                  40,370.00              0.092%            3,317.68                          -         3,317.68              -          3,317.68
Bud Griffin Customer Support                                                              Allowed                     444.91              0.001%               36.56            28%         10.24          26.32              -             26.32
CAD Control Systems                                                                       Allowed                  16,987.58              0.039%            1,396.07                          -         1,396.07              -          1,396.07
Canaccord Genuity Australia Limited                                                       Allowed                 229,917.86              0.525%           18,895.07                          -        18,895.07              -         18,895.07
Canrig Drilling Technology Ltd.                                                           Allowed                 106,264.08              0.243%            8,732.97                          -         8,732.97              -          8,732.97
Chrystal Capital Partners LLP                                                             Allowed               2,657,771.00              6.071%          218,420.43                          -       218,420.43              -        218,420.43
Clarion Events LTD                                                                        Allowed                  12,000.00              0.027%              986.18            30%        295.85         690.33              -            690.33
Coffman Engineers                                                                         Allowed                  17,474.25              0.040%            1,436.07                          -         1,436.07              -          1,436.07
Comcast                                                                                   Allowed                      44.70              0.000%                3.67                          -             3.67              -               -       (Note E)
                                                                                          Barred -
Commercial Appliance & Refrigeration Inc                                                  Unclaimed                      -                0.000%                 -                            -              -                -               -
Computershare Registry Services Pty Ltd                                                   Allowed                  16,071.68              0.037%            1,320.80            30%        396.24         924.56              -            924.56
Conam Construction Company                                                                Allowed                  40,005.42              0.091%            3,287.72                          -         3,287.72              -          3,287.72
ConocoPhillips Company                                                                    Allowed               2,000,000.00              4.568%          164,363.62                          -       164,363.62              -        164,363.62
Cook Inlet Energy, LLC                                                                    Allowed                 315,970.10              0.722%           25,966.99                          -        25,966.99              -         25,966.99
Cook Inlet Regional Citizens Advisory Council                                             Allowed                  37,500.00              0.086%            3,081.82                          -         3,081.82              -          3,081.82
Cook Inlet Spill Prevention and Response, Inc.                                            Resolved                       -                0.000%                 -                            -              -                -               -
Crowe Horwath LLP                                                                         Resolved                       -                0.000%                 -                            -              -                -               -
Crowell & Moring LLP                                                                      Allowed                 361,095.91              0.825%           29,675.51                          -        29,675.51              -         29,675.51
Darrel J. Gardner (joint and several co-creditor with Steve M. Wells)                     Allowed                  41,148.00              0.094%            3,381.62                          -         3,381.62              -          3,381.62
Dish Network LLC                                                                          Allowed                     797.89              0.002%               65.57                          -            65.57              -             65.57
                                                                                          Barred -
Doherty, David J.                                                                         Unclaimed                      -                0.000%                  -                           -               -               -                -




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Buccaneer Resources Liquidating Trust
Final Distribution                                                                Total Distribution Amount           $    3,598,000.00

                                                                                                                                                                                       Prior Reserve       Total
                                                                                                                           Pro Rata                       Backup W/H         Net
                                                                             Total Allowed Claim                                           Backup W/H %                                Amts Released   Distribution
                          Creditor              Transferee    Claim Status                            Pro Rata %          Distribution                      Amount      Distribution
                                                                                   Amount                                                     (Note B)                                  for Payment    Amount to
                                                                                                                           (Note A)                         (Note C)      Amount
                                                                                                                                                                                          (Note D)      Creditors
Edison, McDowell & Hetherington LLP                          Allowed                  18,485.35              0.042%             1,519.16            28%        425.36       1,093.80               -         1,093.80
Edward Ramirez                                               Allowed                 208,841.67              0.477%            17,162.99                          -        17,162.99               -       17,162.99
                                                             Barred -
Energy Services International                                                               -                0.000%                                               -               -              -               -
                                                             Unclaimed                                                               -
ERA Helicopters LLC                                          Allowed                  22,671.87              0.052%             1,863.22                          -         1,863.22             -          1,863.22
Ezion Holdings Limited                                       Resolved                       -                0.000%                  -                            -              -               -               -
Fagredin, Farouk                                             Allowed                  44,467.50              0.102%             3,654.42                          -         3,654.42             -          3,654.42
Ferguson Enterprises, Inc.                                   Allowed                   4,898.09              0.011%               402.53                          -           402.53             -            402.53
Fire Control Systems, Inc.                                   Allowed                   5,199.94              0.012%               427.34                          -           427.34             -            427.34
                                                             Barred -
Five Star Oilfield Services                                                                 -                0.000%                                               -               -              -               -
                                                             Unclaimed                                                               -
                                                             Barred -
Forum US, Inc.                                               Unclaimed                      -                0.000%                  -                            -              -               -               -
Frank's Casing Crew and Rental Tools, Inc                    Allowed               1,174,888.59              2.684%            96,554.47                          -        96,554.47             -         96,554.47
Fulton, David W.                                             Allowed                   2,498.63              0.006%               205.34                          -           205.34             -            205.34
Gallegos, Dean                                               Allowed                 719,674.80              1.644%            59,144.18                          -        59,144.18             -         59,144.18
Gavin Wilson                                                 Resolved                       -                0.000%                  -              28%           -              -               -               -
GE Capital C/O Barbi Martin                                  Allowed                  27,123.86              0.062%             2,229.09                          -         2,229.09             -          2,229.09
General Communications Inc                                   Allowed                 124,990.10              0.285%            10,271.91                          -        10,271.91             -         10,271.91
GeoCenter LP                                                 Allowed                   5,926.22              0.014%               487.03            28%        136.37         350.66             -            350.66
Geomap Company                                               Allowed                     465.48              0.001%                38.25                          -            38.25             -             38.25
Grainger                                                     Allowed                     564.47              0.001%                46.39                          -            46.39             -             46.39
Graphic Works                                                Allowed                     297.20              0.001%                24.42                          -            24.42             -               -      (Note E)
Gulfstream Legal Group LLC                                   Allowed                   1,575.00              0.004%               129.44            28%         36.24          93.20             -             93.20
Hartman Income REIT Property Holdings, LLC                   Allowed                 407,127.32              0.930%            33,458.46                          -        33,458.46             -         33,458.46
Hilcorp Alaska, LLC                                          Allowed                 112,812.50              0.258%             9,271.14                          -         9,271.14             -          9,271.14
Hole Opener Corporation                                      Allowed                  13,454.80              0.031%             1,105.74                          -         1,105.74             -          1,105.74
Homer Electric Association                                   Allowed                  22,305.97              0.051%             1,833.14                          -         1,833.14             -          1,833.14
                                                             Barred -
Homer Septic Services                                        Unclaimed                      -                0.000%                  -                            -              -               -               -
Hopper Engineering Associates                                Allowed                  11,530.00              0.026%               947.56                          -           947.56             -            947.56
William Allen Huckabay                                       Resolved                       -                0.000%                  -                            -              -               -               -
IHS GLOBAL INC.                                              Allowed                  13,776.98              0.031%             1,132.22                          -         1,132.22             -          1,132.22
Iliamna Air Taxi, Inc.                                       Allowed                   1,612.50              0.004%               132.52                          -           132.52             -            132.52
Industrial Instrument Services, Inc                          Allowed                   3,368.91              0.008%               276.86                          -           276.86             -            276.86
Internal Revenue Service                                     Allowed                  10,325.74              0.024%               848.59                          -           848.59             -            848.59
                                                             Barred -
International Hydrocarbon Ventures LLC                                                      -                0.000%                                               -               -              -               -
                                                             Unclaimed                                                              -
James S. Watt                                                Resolved                       -                0.000%                 -                             -              -               -              -
JMR Capital Advisors                                         Allowed                 260,625.00              0.595%           21,418.63                           -        21,418.63             -        21,418.63
JMR Worldwide                                                Allowed                  59,062.50              0.135%            4,853.86                           -         4,853.86             -         4,853.86
Kenai Offshore Ventures, LLC                                 Allowed              19,000,000.00             43.398%        1,561,454.36                           -     1,561,454.36             -     1,561,454.36
Konica Minolta Business Solutions USA Inc                    Allowed                   1,202.87              0.003%               98.85                           -            98.85             -            98.85
                                                             Barred -
Konica Minolta Premier Finance                               Unclaimed                      -                0.000%                  -                            -              -               -               -
Landt, Mark R.                                               Resolved                       -                0.000%                  -                            -              -               -               -
LCG Discovery Experts                                        Resolved                       -                0.000%                  -                            -              -               -               -
Legislative Consultants In Alaska                            Allowed                  25,000.00              0.057%             2,054.55                          -         2,054.55             -          2,054.55
Logix Communications                                         Allowed                   1,718.73              0.004%               141.25                          -           141.25             -            141.25
Loomis, Richard R.                                           Allowed                 146,600.00              0.335%            12,047.85                          -        12,047.85             -         12,047.85
MacGregor USA, Inc.                                          Allowed                     946.60              0.002%                77.79                          -            77.79             -             77.79
MagTec Alaska, LLC                                           Allowed                 202,885.18              0.463%            16,673.47                          -        16,673.47             -         16,673.47
Mapmakers Alaska                                             Allowed                   7,000.00              0.016%               575.27                          -           575.27             -            575.27
Maritime Helicopters, Inc.                                   Allowed                  18,631.24              0.043%             1,531.15                          -         1,531.15             -          1,531.15




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Buccaneer Resources Liquidating Trust
Final Distribution                                                                                             Total Distribution Amount           $    3,598,000.00

                                                                                                                                                                                                                    Prior Reserve       Total
                                                                                                                                                        Pro Rata                       Backup W/H         Net
                                                                                                          Total Allowed Claim                                           Backup W/H %                                Amts Released   Distribution
                         Creditor                                     Transferee           Claim Status                            Pro Rata %          Distribution                      Amount      Distribution
                                                                                                                Amount                                                     (Note B)                                  for Payment    Amount to
                                                                                                                                                        (Note A)                         (Note C)      Amount
                                                                                                                                                                                                                       (Note D)      Creditors
Marlin Business Bank                                                                      Allowed                  31,720.89              0.072%             2,606.88                          -         2,606.88               -         2,606.88
Metson Blue Water Navigation, LLC                                                         Allowed                  18,536.00              0.042%             1,523.32                          -         1,523.32               -         1,523.32
M-I LLC                                                                                   Allowed                   1,047.49              0.002%                86.08                          -            86.08               -            86.08
Moller, Brian                                                                             Allowed                  36,164.38              0.083%             2,972.05            30%        891.62       2,080.44               -         2,080.44
Moore & Moore Services, Inc.                                                              Allowed                   6,872.46              0.016%               564.79                          -           564.79               -           564.79
Moore, Craig                                                                              Allowed                   4,997.25              0.011%               410.68            28%        114.99         295.69               -           295.69
Morgan Steel Inc                                                                          Allowed                   8,635.81              0.020%               709.71                          -           709.71               -           709.71
National Oilwell Varco                                                                    Allowed                     929.00              0.002%                76.35                          -            76.35               -            76.35
North Star Terminal & Stevedore Co., LLC                                                  Resolved                       -                0.000%                  -                            -              -                 -              -
Northern Consulting Group                                                                 Allowed                   7,763.87              0.018%               638.05            28%        178.65         459.40               -           459.40
NOV Tuboscope                                                                             Allowed                  49,980.40              0.114%             4,107.48                          -         4,107.48               -         4,107.48
O'Brien's Response Management                                                             Allowed                   2,100.00              0.005%               172.58                          -           172.58               -           172.58
                                                           Jeffries Leverage Credit
Ocean Marine Services                                                                                             637,028.03              1.455%                                                        52,352.12
                                                           Products                       Allowed                                                          52,352.12                           -                              -        52,352.12
Patrick O'Connor                                                                          Resolved                       -                0.000%                 -                             -              -               -              -
Odin Advisors, LLC                                                                        Allowed               1,300,000.00              2.969%          106,836.35                           -       106,836.35             -       106,836.35
                                                                                          Barred -
Optus Billing Services Pty Ltd                                                            Unclaimed                      -                0.000%                  -                            -              -               -               -
Pacific Pile & Marine, L.P.                                                               Allowed                 195,000.00              0.445%            16,025.45                          -        16,025.45             -         16,025.45
Pason Offshore Corp                                                                       Allowed                  43,311.86              0.099%             3,559.45                          -         3,559.45             -          3,559.45
Paul Hastings LLP                                                                         Allowed                 102,721.93              0.235%             8,441.87            28%      2,363.72       6,078.15             -          6,078.15
PCNET Communications, Inc                                                                 Allowed                   9,022.54              0.021%               741.49                          -           741.49             -            741.49
Peninsula Pumping, Inc.                                                                   Allowed                     698.60              0.002%                57.41                          -            57.41             -             57.41
                                                                                          Barred -
Petroleum Engineers, Inc.                                                                                                -                0.000%                                               -               -              -               -
                                                                                          Unclaimed                                                               -
Petroleum Equipment & Services, Inc.                                                      Allowed                  73,153.65              0.167%             6,011.90                          -         6,011.90             -          6,011.90
Phoenix Safety & Logistics Personnel Inc                                                  Allowed                  28,696.94              0.066%             2,358.37                          -         2,358.37             -          2,358.37
Pitney Bowes                                                                              Allowed                   1,020.14              0.002%                83.84                          -            83.84             -             83.84
PJK Trucking                                                                              Allowed                  12,300.00              0.028%             1,010.84                          -         1,010.84             -          1,010.84
Pollard E-Line Service, Inc.                                                              Allowed                  12,244.04              0.028%             1,006.24                          -         1,006.24             -          1,006.24
Port Graham Corporation                                                                   Allowed                 120,078.06              0.274%             9,868.23                          -         9,868.23             -          9,868.23
Progressive Global Energy                                                                 Allowed                  21,935.73              0.050%             1,802.72            28%        504.76       1,297.96             -          1,297.96
ProStar Services, Inc.                                                                    Allowed                     286.72              0.001%                23.56                          -            23.56             -               -      (Note E)
Rain for Rent Alaska                                                                      Allowed                  35,863.54              0.082%             2,947.33                          -         2,947.33             -          2,947.33
                                                           Reserve Analysts Associates,
Ralph E. Davis Associates, Inc.                                                                                    33,213.00              0.076%             2,729.50                          -         2,729.50             -          2,729.50
                                                           Inc.                           Allowed
Safway Services LLC                                                                       Allowed                  56,957.97              0.130%             4,680.91                          -         4,680.91             -          4,680.91
Schlumberger Technology Corporation                                                       Allowed                      15.00              0.000%                 1.23                          -             1.23             -               -      (Note E)
ScoNet Int.                                                                               Allowed                   9,945.00              0.023%               817.30                          -           817.30             -            817.30
Seismic Exchange, Inc.                                                                    Allowed                  51,316.50              0.117%             4,217.28                          -         4,217.28             -          4,217.28
Sheek Offshore Services                                                                   Allowed                   7,615.57              0.017%               625.86            28%        175.24         450.62             -            450.62
SLP Alaska                                                                                Allowed                     813.00              0.002%                66.81            28%         18.71          48.10             -             48.10
SolstenXP Inc.                                                                            Allowed                   3,507.07              0.008%               288.22                          -           288.22             -            288.22
Sparkletts & Sierra Springs                                                               Allowed                     302.71              0.001%                24.88                          -            24.88             -               -      (Note E)
Starichkof Enterprises                                                                    Allowed                   1,487.52              0.003%               122.25                          -           122.25             -            122.25
State of Alaska - Department of Environmental Conservation                                Allowed                  35,196.00              0.080%             2,892.47                          -         2,892.47             -          2,892.47
State of Alaska - Dept of Environmental Conservation, Division of Water                   Allowed                   1,480.00              0.003%               121.63                          -           121.63             -            121.63
Stellar Oil & Gas, LLC                                                                    Allowed                  19,180.46              0.044%             1,576.28                          -         1,576.28             -          1,576.28
Steven M. Wells, P.C. (joint and several co-credit with Darrel J. Gardner)                Allowed                  41,148.00              0.094%             3,381.62            28%        946.85       2,434.77             -          2,434.77
Strong Energy Resources LLC                                                               Allowed                  11,660.22              0.027%               958.26                          -           958.26             -            958.26
Teras Investments Pte. Ltd.                                                               Resolved                       -                0.000%                  -                            -              -               -               -
Teras Oilfield Support Limited                                                            Resolved                       -                0.000%                  -                            -              -               -               -
Terrasond Precision Geospatial Solutions                                                  Allowed                  17,938.65              0.041%             1,474.23                          -         1,474.23             -          1,474.23
Terratek, Inc.                                                                            Allowed                   1,980.00              0.005%               162.72                          -           162.72             -            162.72




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Buccaneer Resources Liquidating Trust
Final Distribution                                                                                              Total Distribution Amount           $    3,598,000.00

                                                                                                                                                                                                                         Prior Reserve          Total
                                                                                                                                                         Pro Rata                         Backup W/H           Net
                                                                                                          Total Allowed Claim                                            Backup W/H %                                    Amts Released      Distribution
                        Creditor                                  Transferee             Claim Status                               Pro Rata %          Distribution                        Amount        Distribution
                                                                                                                Amount                                                      (Note B)                                      for Payment       Amount to
                                                                                                                                                         (Note A)                           (Note C)        Amount
                                                                                                                                                                                                                            (Note D)         Creditors
Tesoro                                                                                 Allowed                         803.55              0.002%                66.04                             -             66.04               -               66.04
Time Warner Cable                                                                      Allowed                       1,505.92              0.003%               123.76                             -            123.76               -              123.76
Total Office Products                                                                  Allowed                         213.45              0.000%                17.54             28%             -             17.54               -                 -     (Note E)
Total Safety US Inc.                                                                   Allowed                      10,571.14              0.024%               868.76                             -            868.76               -              868.76
United Rentals North America Inc.                                                      Allowed                       4,966.38              0.011%               408.15                             -            408.15               -              408.15
Velocis Echo LP                                                                        Allowed                         769.42              0.002%                63.23             28%           17.70           45.53               -               45.53
Victory Park Management, LLC                                                           Allowed                       1,427.51              0.003%               117.32             28%           32.85           84.47               -               84.47
Vigor Alaska LLC                                                                       Allowed                         433.34              0.001%                35.61                             -             35.61               -               35.61
Warrior Rig Limited Partnership                                                        Allowed                      18,273.83              0.042%             1,501.78             30%          450.53        1,051.25               -            1,051.25
Weatherford US LP                                                                      Allowed                     163,327.05              0.373%            13,422.51                             -         13,422.51               -          13,422.51
Wex Bank                                                                               Allowed                         803.55              0.002%                66.04                             -             66.04               -               66.04
Willis of Texas, Inc.                                                                  Allowed                      20,476.00              0.047%             1,682.75                             -          1,682.75               -            1,682.75
Windy Bay Services, LLC.                                                               Allowed                     184,000.00              0.420%            15,121.45                             -         15,121.45               -          15,121.45
Xpress Business Products, Inc.                                                         Allowed                          94.11              0.000%                 7.73                             -              7.73             24.70             32.43
XTO Energy, Inc.                                                                       Allowed                      89,372.20              0.204%             7,344.77                             -          7,344.77               -            7,344.77
YWAM Arctic Missions                                                                   Allowed                          50.00              0.000%                 4.11                             -              4.11               -                 -     (Note E)
Zentech Incorporated                                                                   Allowed                      12,329.00              0.028%             1,013.22                             -          1,013.22               -            1,013.22
Directors (Gavin Wilson)                                                               Allowed                      28,303.48              0.065%             2,326.03             30%          697.81        1,628.22               -            1,628.22
Directors (Patrick O'Connor and Alan Stein)                                            Allowed                      62,998.06              0.144%             5,177.29                             -          5,177.29               -            5,177.29
Foreign Directors (Stein / Wilson / O'Connor)                                          Resolved                           -                0.000%                  -                               -               -                 -                 -

                                                                                                               43,780,979.06             100.000%        3,598,000.00                         7,965.55    3,590,034.45             49.57     3,589,928.94
                                                                                                               43,780,979.06             100.000%        3,598,000.00                         7,965.55    3,590,034.45             49.57     3,589,928.94



                                                                                                                                   Total Claim                                            Distribution
                                                                                                                 Count                                  Distribution      Backup W/H
                                                                                                                                     Amount                                                Less W/H
                                                                                                                           143     43,780,979.06         3,598,000.00         7,965.55    3,590,034.45
                                                                                                                           143     43,780,979.06         3,598,000.00         7,965.55    3,590,034.45
Notes:
A) In accordance with Section 8.1 of the Plan, distribution payments will not be made for amounts less than $25.
B) Backup withholding is calculated at 28% for domestic and 30% for foreign entities who have not returned executed Form W-9 or equivalent forms, respectively.
C) Backup withholding for de minimis claims will not be remitted until and to the extent such claims become allowed and paid.
D) Represents prior amounts classified as de minimis, which are now being distributed as the total distribution amount exceeds $25.
E) 12 of the 143 allowed claims have a total distribution amount less than $25. As noted above, payments will not be made for amounts less than $25.


                                                                                                                                                                         Percentage Distributed:
                                                                                                                                                                                           $ 15,098,000 A - Total Distribution Amount ($9.5mm + $2mm + $3.6 mm)
                                                                                                                                                                                           $ 43,780,979 B - Total Allowed Claims
                                                                                                                                                                                                    34% A/B - Percentage Distributed to Date




                                                                                                                                 Page 4 of 4
